Case 2:05-Cr-20280-BBD Document 11 Filed 08/12/05 Page 1 of 3 Page|D 12

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UNITED sTATEs DIsTRrCT CoUR'r
wEsTERN DISTRICT oF TENNESSEE 95 AUG 12 PH 3= 27
Western Division

 

UNITED STATES OF AMERICA

-v- Case No. 2:05cr20280-2-D

EMANUEL Y. BERRY

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretn'al Services Offlce, Probation Offrce, defense counsel
and the U.S. Attomey in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignrnent in the United States Courthouse and
Federal Building in Courtroom M-3, 9TH FLOOR on WEDNESDAY, AUGUST 17, 2005, at 9:30 A.M.

ADDITIONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FUR'I`HER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financlal Conditions

¢ report as directed by the Pretrial Services Offlce.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fme, or both.

This document entered on the docket sheet Jn corn |iance
A0199A OrderSettinq ConditionsofRe|ease With Ru£e 35 ar]Ll/th?(b) FRC[»P On ' '

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Case 2:05-Cr-20280-BBD Document 11 Filed 08/12/05 Page 2 of 3 Page|D 13

The commission of a F ederal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

informant; or to intimidate or attempt to intimidate a witness, victirn, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that lam the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above.
W_,AL¢

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Signature of D ndant

 

EMANUE . BERRY
3415 CHA.MBERS RD
MILLINGTON, 'I'N 38053
901-872-7477

DlRECTIONS TO THE UN|TED STATES MARSHAL

E) The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and!or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: August 12, 2005 {
\) TU M. PHAM "
UNITED STATES MAGISTRATE JUDGE

Ao tsca order setting conditions at Reiease -2-

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number ll in
case 2:05-CR-20280 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

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PDA

FEDERAL PUBLIC DEFENDER
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Honorable Bernice Donald
US DISTRICT COURT

